            Case 6:05-cr-00009-JRH Document 78 Filed 02/26/09 Page 1 of 1
                             UNITED STATES DISTRICT COURT I L ED
                                                                     U.S. WSTRCT COURT
                             SOUTHERN DISTRICT OF GEO*L'
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                                    STATESBORO DIVISId9                              cç
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                                                                       SO. D1S1-9f GA.
UNITED STATES OF AMERICA                        )
                                                )
       V.                                       )
                                                )
DONALD WHITEHEAD                                )          INDICTMENT NO. CR605-00009-001

                                               ralIII I' IJI
                                               Vi PJ III .




        On December 7, 2005, Defendant was sentenced by this Court to 188 months imprisonment

following Defendant's plea of guilty to conspiracy to manufacture and to distribute a quantity of

cocaine base. On February 9, 2009, the Government filed a Rule 35 motion requesting that the Court

reduce Defendant's sentence in response to his "significant" cooperation with the Government.

       The Court has reviewed Defendant's case and recalls that he was associated with a significant

quantity of cocaine base, and that he was a career offender by virtue of two prior felony convictions

involving the possession with intent to distribute illegal drugs. The Court also recalls that Defendant

had no reported earnings during the five years preceding his arrest. On the other hand, the Court is

mindful of the fact that Defendant received no benefit from the recent retroactive cocaine base

guideline amendment because of his career offender status.

       The Court agrees that Defendant's cooperation with the Government deserves some

recognition, and hereby GRANTS the Government's motion. It is ordered that Defendant's sentence

is reduced from 188 months to 162 months.

       SO ORDERED, this         9        day of February, 2009.
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                                                           For the Southern District of Georgia
